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                             UNITED STA TES DISTRICT COURT

                             DISTRICT OF SOUTH CAROLINA




UNITED ST ATES OF AMERICA

               vs.                                           CASE NO. 8:18-412

CATHERINE PROSSER




                                              PLEA


       The Defendant, CATHERINE PROSSER, acknowledges receipt of a copy of the indictment
                                                                          GJ¥P
and after arraignment pleads guilty in open court pleads guilty to counts(s)   W.X 3.



                                                             (Signed)    Defendant




Greenville, South Carolina
September 13 , 2019
